        Case 4:21-cv-05009-SAB    ECF No. 32   filed 03/04/22    PageID.240 Page 1 of 2

                                                                      FILED IN THE
                                                                  U.S. DISTRICT COURT

 1                                                          EASTERN DISTRICT OF WASHINGTON



 2                                                              Mar 04, 2022
                                                                 SEAN F. MCAVOY, CLERK
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 5
 6                            UNITED STATES DISTRICT COURT
 7                       EASTERN DISTRICT OF WASHINGTON
 8
 9 LINLEY HANEYNIXON,
10               Plaintiff,                        No. 4:21-CV-05009-SAB
11               v.
12 BOARD OF TRUSTEES OF WHITMAN                    ORDER DISMISSING CASE
13 COLLEGE,
14               Defendant.
15
16         Before the Court is the parties’ Stipulated Motion to Dismiss, ECF No. 31.
17 The parties request that the Court dismiss Plaintiff Linley HaneyNixon’s Amended
18 Complaint with prejudice. Pursuant to Federal Rule of Civil Procedure
19 41(a)(1)(A)(ii), the Court hereby grants the motion for voluntary dismissal and
20 dismisses the case.
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     ORDER DISMISSING CASE *1
      Case 4:21-cv-05009-SAB   ECF No. 32   filed 03/04/22   PageID.241 Page 2 of 2



 1       Accordingly, IT IS HEREBY ORDERED:
 2       1.    The parties’ Stipulated Motion to Dismiss, ECF No. 31, is GRANTED.
 3       2.    Defendant’s Motion for Summary Judgment, ECF No. 25, is
 4 DISMISSED as moot.
 5       3.    The above-captioned case is DISMISSED with prejudice and without
 6 the award of fees or costs.
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         4.     The District Court Executive is directed to CLOSE the file.
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         IT IS SO ORDERED. The District Court Clerk is hereby directed to enter
 9
   this Order, provide copies to counsel, and close the file.
10
         DATED this 4th day of March 2022.
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16                                              Stanley A. Bastian
                                       Chief United States District Judge
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     ORDER DISMISSING CASE *2
